             Case 8:25-cv-00337-BAH            Document 91        Filed 02/25/25                              Page 1 of 1



                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
PFLAG Inc. ett al.                                      *
      Plaintiff,
                                                        *
      v.                                                                 Case No.                25-337-BAH
                                                        *
Donald J. Trump et al.
      Defendant.                                        *

                                   ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                       Amicus Curiae ALABAMA, ALASKA, ARKANSAS, FLORIDA, GEORGIA, IDAHO, INDIANA, IOWA, KANSAS, LOUISIANA, MISSISSIPPI, MISSO

             Enter my appearance as counsel in this case for the _______________________________

             I certify that I am admitted to practice in this Court.

February 25, 2025                                              /s/ Ian D. Prior
Date                                                        Signature
                                                             Ian D. Prior
                                                            Printed name and bar number

                                                             611 Pennslyvania Ave. SE #231
                                                            Address
                                                             ian.prior@aflegal.org
                                                            Email address
                                                             202-964-3721
                                                            Telephone number
                                                             n/a
                                                            Fax number




EntryofAppearanceCivil (08/2015)
